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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


TAKEDA PHARMACEUTICALS U.S.A., INC.,

         Plaintiff,

v.                                                                C.A. No. 14-268-SLR

WATSON LABORATORIES, INC.,


         Defendant.




STIPULATION AND DISMISSAL WITHOUT PREJUDICE AND [PROPOSED] ORDER


         WHEREAS Plaintiff Takeda Pharmaceuticals USA, Inc. (“Takeda”), and Defendant

Watson Laboratories, Inc. (“Watson”), have agreed to terms and conditions for a settlement of

this action and have set forth those terms and conditions in a settlement agreement;

         THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between the

parties, through their undersigned counsel of record:

         1.      This action, including all claims, counterclaims and affirmative defenses, is

voluntarily dismissed in its entirety without prejudice pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii);

         2.      This Court retains jurisdiction to enforce the settlement agreement; and

         3.      Each party shall bear its own attorneys’ fees and costs.




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                                            Respectfully submitted,


/s/Daniel M. Attaway                        /s/Robert M. Vrana
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SO ORDERED this ____ day of _______________, 2016.


                                      ___________________________________
                                      United States District Judge




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